              Case 23-13081-ABA                        Doc          Filed 01/07/25 Entered 01/07/25 12:10:55                                Desc Main
   Fill in this information to identify the case:                   Document      Page 1 of 8
Debtor 1                 Richard An Tran Nguyen
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        District of New Jersey
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             23­13081­ABA
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             6
                                                                                                   Court claim no. (if known): _______________________
 Navy Federal Credit Union




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                            02/01/2025
                                                                                                                                             _____________


                                                                                                  New total payment:
                                                                                                                                             1948.84
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      5 ____
                                                                    ____ 8 ____
                                                                            3 ____
                                                                                9

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           863.57
                Current escrow payment: $ _________________                                                                       666.83
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
            Richard An Tran Nguyen                                                               23­13081­ABA
      Case 23-13081-ABA                 Doc Filed    01/07/25 Entered 01/07/25
            ________________________________________________________
      Debtor 1
            First Name        Middle Name    Last Name
                                                                          Case number (if12:10:55           Desc Main
                                                                                         known) ______________________

                                            Document           Page 2 of 8
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Mitku Workie
      ______________________________________________________________
      Signature
                                                                                      01/03/2025
                                                                                Date _______________




 Print:______________________________________________________________
        Mitku Workie                                                             Preparer
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Navy Federal Credit Union
         ____________________________________________________________

 Address    820 Follin Lane
            _____________________________________________________________
            Number                  Street

            _____________________________________________________________
            Address 2

             Vienna                                  VA      22180
            _____________________________________________________________
              City                                      State        ZIP Code



                     703-255-8606                                                Mortgage_Bankruptcy@Navyfederal.org
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                     UNITED Doc Filed 01/07/25 Entered 01/07/25 12:10:55 Desc Main
                            STATES
                                DocumentBANKRUPTCY
                                              Page 3 of 8      COURT
                                                       District of New Jersey

                                                  Chapter    13 No. 23-13081-ABA

                                                  Judge: Andrew B. Altenburg Jr.
In re:
Richard An Tran Nguyen

                                         Debtor(s).

                                         CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before January 08, 2025 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Mail Postage Prepaid.


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid.
                                   Richard An Tran Nguyen
                                   771 E Broad St

                                   Gibbstown NJ 08027-1141


                                   By U.S. Postal Service First Class Mail Postage Prepaid.
                                   N/A




Debtor’s Attorney:                 By U.S. Postal Service First Class Mail Postage Prepaid.
                                   Edward Jacob Gruber
                                   Cibik Law, P.C.
                                   1500 Walnut Street, Suite 900

                                   Philadelphia PA 19102


                                  By U.S. Postal Service First Class Mail Postage Prepaid.
                                   N/A




Trustee:                          By U.S. Postal Service First Class Mail Postage Prepaid.
                                  Andrew B Finberg
                                  Office of the Chapter 13 Standing Trustee
                                  535 Route 38
                                  Suite 580
                                  Cherry Hill NJ 08002

U.S Trustee:                      By U.S. Postal Service First Class Mail Postage Prepaid.
                                  Andrew R. Vara
                                  U.S. Trustee
                                  One Neward Center, Suite 2100

                                  Newark NJ 07102


                                                                   _______________________________________________
                                                                   /s/Mitku Workie
                                                                   Preparer
                                                                   Navy Federal Credit Union
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